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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
Felix Valadez, Luis Carrizoza, Abigail Reyes, §
Amada Man, Texas Entertainment                §         CIVIL NO:
Association, Inc.                             §         AU:21-CV-00519-RP
                                              §
vs.                                           §

Ken Paxton, Ed Serna


               LIST OF WITNESSES AT PRELIMINARY
                       INJUCTION HEARING

BY      PLAINTIFF                                 BY      DEFENDANT
1.      Abigail Reyes                             1.      Cara Foos Pierce
2.      Amada Man                                 2.
3.      Luis Carrizoza                            3.
4.      Kevin Richardson                          4.
5.      Evanny Salazar                            5.
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